442 F.2d 1042
    Harold Raymond HOOKS, Petitioner-Appellant,v.4TH DISTRICT COURT OF APPEAL, FLA., and State of Florida,and Walter Colbaith, etc., Respondents-Appellees.No. 71-1329 Summary Calendar.**Rule 18, 5 Cir.; see Isbell Enterprises, Incv.Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    May 13, 1971.
    
      Harold R. Hooks, pro se.
      Robert L. Shevin, Atty. Gen. of Fla., Tallahassee, Charles W. Musgrove, Asst. Atty. Gen., Walter Colbaith, Palm Beach County Public Defender, West Palm Beach, Fla., for respondents-appellees.
      Before WISDOM, COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is taken from an order denying the petition of a Florida prisoner for the writ of habeas corpus.  We dismiss the appeal.
    
    
      2
      An appeal from an order of the district court denying the writ of habeas corpus may not be taken unless that district court issues a certificate of probable cause to appeal, or this Court grants such certificate, 28 U.S.C. 2253.  Appellant has failed to apply for such certificate.  Therefore, this Court is without jurisdiction to entertain the appeal, McGrederick v. Florida, 5 Cir., 1958, 261 F.2d 52; Willis v. Ellis, 5 Cir., 1954, 217 F.2d 135.
    
    
      3
      An examination of the record reveals no basis for the issuance of such certificate by this Court.  In his habeas petition appellant prayed for reduction of bond pending his direct appeal in state court.  It is well settled that there is no absolute right to bail pending appeal, and this Court will not interfere with the state court's determination of the amount of bail required to ensure a defendant's presence while his appeal is pending.  Ballard v. Texas, 5 Cir., 1971, 438 F.2d 640; Grech v. Purdy, 5 Cir., 1970, 426 F.2d 304; Fink v. Heyd, 5 Cir., 1969, 408 F.2d 7, cert. denied 396 U.S. 895, 90 S.Ct. 192, 24 L.Ed.2d 172.
    
    Therefore, the appeal is
    
      4
      Dismissed.
    
    